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From: Mithun Mansinghani <mithun.mansinghani@oag.ok.gov>
Sent: Monday, February 14, 2022 4:40 PM
To: Walker, Kenton <KentWalker@crowell.com>
Cc: J Stronski <jstronski@crowell.com>; Harry Cohen <Hcohen@crowell.com>; M Robles <mrobles@crowell.com>;
Emma Rolls <Emma_Rolls@fd.org>; Jennifer Moreno <Jennifer_Moreno@fd.org>; Alex Kursman
<Alex_Kursman@fd.org>; Kim Stout <Kim_Stout@fd.org>; Lynne Leonard <Lynne_Leonard@fd.org>
Subject: RE: Stouffer and D. Grant Production

It is my understanding that an autopsy was performed on Donald Grant. I have asked the medical examiner for an
estimate on the timing of the toxicology and final reports.

Mithun

From: Walker, Kenton <KentWalker@crowell.com>
Sent: Monday, February 14, 2022 4:25 PM
To: Mithun Mansinghani <mithun.mansinghani@oag.ok.gov>
Cc: Stronski, James <JStronski@crowell.com>; Cohen, Harry <HCohen@crowell.com>; Robles, Michael
<mrobles@crowell.com>; Emma Rolls <emma_rolls@fd.org>; Jennifer Moreno <jennifer_moreno@fd.org>; Alex
Kursman <alex_kursman@fd.org>; Kim Stout <Kim_Stout@fd.org>; Lynne Leonard <Lynne_Leonard@fd.org>
Subject: [EXTERNAL] Re: Stouffer and D. Grant Production

Mithun,

Thank you for sending this. Can you confirm that an autopsy has already been done on Donald Grant? If so, can you
update us on the status of toxicology and final report?

Thanks,
Kent

Kent M. Walker
Senior Counsel
kentwalker@crowell.com


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1001 Pennsylvania Avenue NW
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                                      02/14/2022 E-mail from M. Mansinghani to K. Walker
